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lN THE UNITED STATES DlSTR|CT COURT %

FOR THE WESTERN D|STRICT OF TENNESSEE "5 3 33 "3' ..3?: 33
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UNITED STATES OF AlVlER|CA
Plaintiff

VS.
CR. NO. 04-20474-D

KATHER|NE SUE PRATT

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on Nlay 19, 2005. At that time, counsel forthe
defendant requested a continuance of the June 6, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to September 6, 2005 with
a report date of Thursdav. Auqust 25. 2005. at 9:00 a.m.. in Courtroom 3. 9th F|oor of
the Federal Bui|ding, l\/|emphis, TN.

The period from lVlay 19, 2005 through September 16, 2005 is excludable under
18 U.S.C. § 3161(h)(8)(B)(iv) because the ends ofjustice served in allowing for additional
time to prepare outweigh the need for a speedy tria|.

lT ls so oRoEREo thisoZ@ day of May, 2005.

    

B N|CE B. D NALD
lTED STATES D|STR|CT JUDGE

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This notice confirms a copy of the document docketed as number 40 in
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Honorable Bernice Donald
US DISTRICT COURT

